Pa ae,

IN RE:

W.R. GRACE & CO., et al

Debtors

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Case No. 01-1139 (MFW) through
Case No. 01-1200 (MFW)

OR 6OR 60D LGD 6G

VERIFIED STATEMENT OF WILLIAMS BAILEY LAW FIRM, L.L.P.

UNDER BANKRUPTCY RULE 2019

I, Steven J. Kherkher, representative of Williams Bailey Law Firm, L.L.P., declare as

follows:

As

I am a shareholder with the law firm of Williams Bailey Law Firm, L.L.P.
(hereinafter “Williams Bailey”). I am a member in good standing of the bar of the
state of Texas.

I have personal knowledge of the facts set forth herein. I make this Verified
Statement (“Statement”) pursuant to Rule 2019 of the Federal Rules of Bankruptcy
Procedure.

The Firm, a professional limited liability corporation, is organized under the laws of
the state of Texas, with its offices for the practice of law located at 8441 Gulf
Freeway, Suite #600, Houston, TX 77017-5001.

As fo the date of this Verified Statement, the Firm represents a number of personal
injury claimants (the “Claimants” or individually, a “Claimant”) who have been
injured by asbestos products manufactured by W. R. Grace & Co., et al (“Debtor”)
and others, and thus hold claims against, inter alia, the Debtor. Attached as Exhibit
“A” is a list of the Claimants represented by the Firm, each of whom has employed
the Firm under a general Power of Attorney and Employment Contract, a
representative form of which is attached as Exhibit “B”. The original documents for
each client are available at reasonable times and on reasonable notice at the Firm’s
offices.

The address for each Claimant represented by the Firm is c/o 8441 Gulf Freeway,
Suite #600, Houston, Texas 77017-5001.

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The nature of the claim held by each Claimant is a personal injury tort claim for
damages caused by asbestos products manufactured by the Debtor and/or its related
entities. The amount of each claim in unliquidated except in those instances in which
Claimants reached a settlement or obtained a judgment or verdict before
commencement of the case.

Each Claimant acquired his or her claim by exposure to asbestos manufactured by
the debtor prior to the filing of the captioned bankruptcy case.

Each Claimant is represented by the Firm under a fee agreement and power of
attorney. The Firm holds each such instrument, as executed between the parties. By
Power of Attorney, each Claimant has authorized the undersigned to vote and take
all action necessary consistent with the actions provided under an office Form 11A
Power of Attorney. A representative copy of the firm’s power of attorney is attached
as Exhibit “B”.

The Firm does not hold any claims against or interests in the Debtor other than its
right to receive a contingent attorneys fees upon payment to a Claimant.

The filing of the Firm’s Verified Statement does not waive any rights including (i)
the Claimants’ rights to have final orders in non-core matters entered only after de
novo review by a district judge; (ii) the Claimants’ rights to trial by jury in any
proceeding and any trial on their claims, (iii) the Claimants’ rights to have the
reference withdrawn by the District Court in any matter subject to mandatory or
discretionary withdrawal or abstention to the extent not previously directed; (iv) the
Claimants’ rights in not submitting themselves to the jurisdiction of the Bankruptcy
Court; or (v) any other rights claims actions, defenses, reclamations, setoffs, or
recoupments to which the Claimants are or may be entitled under nay agreements,
in law or in equity, all of which rights, claims, actions, defenses, reclamations,
setoffs, and recoupments the Firm’s Claimants expressly reserve.

ITN"
Respectfully submitted this ) ay of April, 2001.

RESPECTFULLY SUBMITTED,

WILLIAMS * BAILEY oe L.L.P

By:__ Lewd hha t
STEVEN J/AKHERKHER

State Bar No. 11375950

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(713) 230-2314

Facsimile No. (713) 643-6226
(Request for Admission to be filed)

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STATE OF TEXAS §
§ KNOW ALL MEN BY THESE PRESENTS:
§

COUNTY OF HARRIS

BEFORE ME, the undersigned authority, on this day personally appeared Steven J. Kherkher
known to me to be the person whose name is subscribed to the foregoing instrument and
acknowledged to me that he executed the same for the purposes therein expressed.

(te
Given under my hand and seal of office this / day of April, 2001.

Dune YYEO

"TAS 200 ) Notary Public, State of Texas wach

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CERTIFICATE OF SERVICE FOR RULE 2019 STATEMENT

A true copy of the foregoing Verified Statement Under Rule 2019 7 Bes by Regular
First Class Mail upon the parties listed on the attached exhibit “C” on this/7** ay of April, 2001.

Mea bo Edd

Steven J. Kherkher

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EXHIBIT “C”
ERVICE LIST
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UNITED STATES TRUSTEE

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Frank Perch

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Fax: (215) 597-5795

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Abare, Kay C. 2001-05902 1/31/2001

Adame, Onesimo 97-32939 6/20/1997
Adcock, Jane C. 96-37291 7/25/1996
Albritton, Richard 95-42619 8/30/1995
Alcaraz, Robert 002-01120 4/28/2000
Aldridge, Richard L. 94-C-2110-3 8/22/1994
Allen, Glen E. 00-235-WLB 3/29/2000
Allen, John 2001-07932 2/13/2001
‘Allen, Owen H. 97-11474 2/28/1997
Allen, Rena 94-C-2110-3 | 8/22/1994
Almada, Gilbert L.

Alvarado Toro, Elder (96-39011 8/5/1996
Alvarado, Oscar G. 97-56161 11/13/1997
Alvarez, Manuel ADMIN 11/11/1911
Anderson, Alex 96-21983 5/30/1996
Anderson, Lloyd H. 98-17835 4/17/1998
Anderson, Ronnie E. |2000-14682 3/23/2000
Andrews, Fay B. 96-08428 2/14/1996
Andrews, John R.

Anglesio, Joseph P. ADMIN
Arnold, Marvin L.

Ashcraft, James 1999-42865 8/24/1999
Askew, Daniel R. 94-C-2110-3 8/22/1994
Atchley, Wiley C. |
Atteberry, Ira S. 97-23179 | 4/30/1997
Auman, Clyde W. 2000-64 6/16/2000
Averette, James C. 96-6463 1 12/30/1996
Avila, Frank C. ADMIN 11/11/2011
Ayarzagoita, Julio 97-56161 11/13/1997
Aynes, John W. ADMIN 11/11/2011
Baca, Jose
Badilla, Johnny G. |
Baggett, Lee Roy 95-42619 8/30/1995
Baker, Charles G. 96-48788 9/23/1996
Baker, Darwin D. CJ-2000-2033-67 3/14/2000
Baker, George W. 97-23103 4/30/1997
Balch, Ralph A. 2000-64 | 6/16/2000
Bankston, Terry E. 94-C-2110-3 | 8/22/1994
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arfield, Raymond W.

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Barksdale, J H. 96-39170 8/6/1996
Barksdale, Samuel 2000-47548 9/20/2000
Barnak, Ronald 00C1856 3/27/2000
Barnes, Tommie L. 94-C-2110-3 8/22/1994
Barnes, William C. 94-C-2110-3 8/22/1994
Barnett, Charles 96-39170 8/6/1996
Bass, Joseph W. 972-01558 5/19/1997
Bass, Thomas L. 97-23218 4/30/1997
Bates, James Roy 97-11474 2/28/1997
Baughman, James E. /|2001-15589 3/22/2001
Bean, Jack L. 96-43386 8/28/1996
Bear, Raymond E. 2000-55312 10/27/2000
Beary, Thomas J. 97-23104 4/30/1997
Beauchamp, Joe B. 94-C-2110-3 8/22/1994
Belcher, Oliver 97-56161 11/13/1997
Belk, Thomas G. 96-37291 7/25/1996
Bell, Isadore B. 95-00792 1/9/1995
Bell, Jack 94-C-2110-3 8/22/1994
Bensen, Clinton B. 97-02962 1/22/1997
Bentfield, Elmer A. '97-02962 1/22/1997
Benzel, Melvin ADMIN 11/11/1911
Berryhill, Grover L. 1999-12846 3/12/1999
Beserra, Frank 96-15687 3/26/1996
Bettes, Troy A. 98-43397 9/10/1998
Bliss, Peter R. ADMIN 11/11/1911
Blizzard, David F. 2000-47863 9/21/2000
Blood, Charles L. 982-10054 12/24/1998
Blue, Alvin L. 94-C-2110-3 8/22/1994
Bodell, Joseph 96-43385 8/28/1996
Body, Kenneth M. 2000-48408 9/25/2000
Bond, Lester D. 1999-23995 5/7/1999
Booth, Daniel E.

Borne, Jerry J. 96-11694 3/1/1996
Bottcher, Clarence 972-01558 5/19/1997
Bova, Joseph A.

Bowers, William C. 002-01120 4/28/2000
Bowling, Harold L. 2000-64 6/16/2000

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Bowman. Paul E.

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1/22/1997

'97-02962
Boyd, Robert A. CJ 98-3271-65 1/20/1998
Bracknell, William L. 96-64631 12/30/1996
Bradley, Larry L. ADMIN
Brand, Joaquin E. ADMIN 11/11/1911
Brenner, Philip C. 002-01120 4/28/2000
Brichner, Charles B. (|97-11474 2/28/1997
Brooks, James E. 97-23106 4/30/1997
Brooks, Spurgen C. 96-22685 5/6/1996
Broussard, Willard 97-56161 11/13/1997
Brown, Jerry Lee 95-CV-0916 8/25/1995
Buckner, Ted
Burgess-Clo, Durell 96-37292 7/25/1996
Burghart, Leroy G. 002-01120 4/28/2000
Burkett, Charles C. 96-64631 12/30/1996
Burrell, Cleveland 98-34723 7/21/1998
Burt, George W. '95-CV-0916 8/25/1995
Burts, Tommie L. 95-CV-0916 8/25/1995
Bush, Isac R. 95-CV-0916 8/25/1995
Cade, Frank
Caine, Alsen J. 94-C-2110-3 8/22/1994
Camacho Padilla, Nels |96-11482 2/29/1996
Campbell, Nelson '95-CV-0916 8/25/1995
Campbell, Thomas W. 2000-48979 9/26/2000
Candelaria, Jose Antoni|2001-06915 2/7/2001
Carte, Oley 97-02962 1/22/1997
Carter, Wallace E. 2001-00972 1/9/2001
Casdorph, Cleo R. [96-19922 4/19/1996
Cash, George B. 94-C-2110-3 8/22/1994
Castillo, Ernest G. ADMIN 11/11/1911
Causey, Charley L. 96-6463 1 12/30/1996
Celestine, Clarence C. 94-C-2110-3 8/22/1994
Ceska, Thomas J. 00C1856 3/27/2000
Chaloupka, Wenzel A. |/96-15813 3/26/1996
Chambless, Charles M. |2000-14682 3/23/2000
Chancey, Ernest W. 97-28573 §/29/1997
Chaney, James R. 1999-19570 4/16/1999
Chapa, Francisco 2000-39250 8/2/2000

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1/29/2001

Chatham, Jeffie R. 2001-04593

Cheek, James W. 1999-16954 4/1/1999
Chilton, Herman W. =|96-64631 12/30/1996
Christiansen, Alvin C.

Church, Edward W.

Clark, Emmett 95-CV-0916 8/25/1995
Clark, Stanley M. 98-43398 9/10/1998
Clow, Barnette W. 00C1856 3/27/2000
Coggs, George 96-48789* 9/23/1996
Cole, Edwin F. CJ-99-3 156-66 5/3/1999
Cole, Edwin F. 98-23885 5/20/1998
Coleman, Edgar B. 95-CV-0916 8/25/1995
Collier, Millard E. 1999-42865 8/24/1999
Commins, Roland 2000-14682 3/23/2000
Compton, Howard T. (1999-09831 2/25/1999
Compton, Howard T. [2000-62288 12/7/2000
Condict, Gerald T. 2000-38781 8/1/2000
Conerly, Arthur W.  96-64631 12/30/1996
Conerly, Louis J. 94-C-2110-3 8/22/1994
Cook, James D. 97-15879 3/25/1997
Cooper, Leathus 97-56161 11/13/1997
Cornelius, Milton 2000-64 6/16/2000
Cosper, James R.

Cowart, Tyron 96-39170 8/6/1996
Craig, Elzia G. 94-C-2110-3 8/22/1994
Crane, Hugh A.

Cruz Corales, Hermene |96-39011 8/5/1996
Dahl, Stanley E. ADMIN 11/11/1911
Dahl, William E. 96-48788 9/23/1996
Daigle, David R. 97-11474 2/28/1997
Daniel, Randall '94-C-2550 10/10/1994
Daniell, Ned A. 94-C-2110-3 8/22/1994
Daniels, Haskell L. 95-60413 12/14/1995
Davis, Dallis R. 96-48789 9/23/1996
Davis, Joseph 96-43386 8/22/1996
Davis, Leroy 95-CV-0916 8/25/1995
Davis, Ralph A. 96-43386 8/28/1996
Davis, Raymond S. |

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Davis, Richard A.

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7/19/1996

96-35299
Davis, Ronald 94-C-2110-3 8/22/1994
Davis, Willie A. 96-37291 7/25/1996
Dayton, Perry E. 96-64631 12/30/1996
Dean, Albert P. 2000-50380 10/3/2000
Dean, Travis '94-C-2110-3 8/22/1994
Dials, Hoston 95-CV-0916 8/25/1995
Dick, Charles W. 002-01 120* 4/28/2000
Diliberto, Ignatius C. |94-C-2110-3 8/22/1994
Dill, Jimmie R. CJ 99-3279-63 1/20/1998
Dispennette, Leonard T 97-11474 2/28/1997
Dodgen, Willie F. 96-41736 8/20/1996
Donelson, Ronald K. (2000-38726 7/31/2000
Dorouth, Johnny W. = 94-C-2110-3 8/22/1994
Dorouth, Johnny W. 96-14830 3/20/1996
Dougan, Richard H. 97-11474 2/28/1997
Dover, Carl 97-23220 4/30/1997
Dowdey, Charles A. 96-64631 12/30/1996
Durham, Eugene E. 97-02962 1/22/1997
Durrence, George E.  97-11472 2/28/1997
Edwards, Lockie 97-39257 7/28/1997
Ellis, William P. 2000-64 6/16/2000
Engel, James T. 399CV80160 8/11/1999
English, Jessie 96-6463 1 12/30/1996
Espersen, Raymond ADMIN 11/11/1911
Felder, Willie 98-06847 2/16/1998
Fielder, Milton C. CJ-99-1890-67 3/17/1999
Fielder, Milton C. 98-28624 6/17/1998
Fields, Rozelle (94-C-2110-3 8/22/1994
Findley, Concetta 97-11474 2/28/1997
Finley, Lloyd M. 972-01558 5/19/1997
Flanagan, Herbert W. 98-25473 5/29/1998
Fleck, Elwin O. cause 12/14/1999
Flowers, Farrie L. 95-35549 7/25/1995
Flowers, Gerald R. 94-C-2110-3 8/22/1994
Flurry, Donnie L. 94-C-2110-3 8/22/1994
Flynn, Jimmie F. 95-60414 12/14/1995
Fontanills, Mary (97-23110 4/30/1997

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Foster, Leo W.

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2/14/1996

96-08428

Foster, Thomas G. 96-37291 7/25/1996
Foster, Willie 96-39170 8/6/1996
Foutch, Lugene R. 00C1856 3/27/2000
Fowler, Jimmy Ray 96-21983 5/30/1996
Fowler, W J. 97-49879 10/1/1997
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Franco, Miguel 2000-27216 5/31/2000
Freed, Willie 95-CV-0916 8/25/1995
Freeman, Morris ‘96-21983 5/30/1996
Fritzke, Faye 97-23111 4/30/1997
Fulk, George E. 96-41736 8/20/1996
Gale, Harold F. '96-48789 9/23/1996
Garcia, Pete U. 2000-56728 11/3/2000
Gardner, Charles H. ADMIN

Gardner, Prince B. 2000-64 6/16/2000
Gaty-Clo, R. Harold (96-37292 7/25/1996
Garza, Moises 1999-35435 7/8/1999
Gatwood, Robert Lee 95-CV-0916 8/25/1995
George, Johnnie L. 97-47737 9/17/1997
Gibson, Benny L. 96-14831 3/20/1996
Gibson, Willie James (95-CV-0916 8/25/1995
Gieselman, Stanley D. [3-00-CV-10235 12/14/2000
Gilbert, Taylor 96-43525 8/28/1996
Golding, William ADMIN 11/11/2011
Goman, Daryl 96-43385 8/28/1996
Gomez, Rudolph S. 002-01120 4/28/2000
Gonzales, Joe L. 2001-04594 1/29/2001
Gonzalez, Gonzalo 2000-14682 3/23/2000
Gonzalez, Roberto P. 2000-36171 7/20/2000
Goode, Claude W. 972-01558 6/19/1997
Gover, Charley W. 97-23112 4/30/1997
Gralto, Richard M. 97-11474 2/28/1997
Grant, Clinton E. 94-C-2110-3 8/22/1994
Gray, Luther H. CJ-99-8083-64 11/10/1999
Gray, Robert C. 96-08428 2/14/1996
Green, Leonard H. 96-43383 8/28/1996
Green, Willie P. 96-6463 1 12/30/1996

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Greene, F. W. 2000-64 6/16/2000
Groce, Robert 96-08428 2/14/1996
Groom, Joseph R. 94-C-2110-3 8/22/1994
Groves, Lloyd G.

Guerrero, John 002-01120 4/28/2000
Guynes, Hirshell L. H-83-5980 1/1/1983
Hahn, Guy C. (1999-36017 7/13/1999
Hall, Bettie 96-39170 8/6/1996
Hall, Lloyd C. cause

Hammett, Lawrence P. |95-CV-0916 8/25/1995
Hammick, Howard O. |CJ-99-897-62 2/11/1999
Hammond, Vitalis W.

Handza, John 95-42619 8/30/1995
Hardwick, Irvin B. 96-44781 8/30/1996
Hatchel, J L. '96-41736 8/20/1996
Hatchel, J L. 2000-14682 3/23/2000
Hatcher, Mardis D. 96-21983 5/30/1996
[Heckart, Duane L. 96-43386 8/28/1996
Henion, Glen

Herod, Jerry 002-01120 4/28/2000
Herrera, Felix B. 2000-58257 11/13/2000
Hesseltine, Victor W. [2001-06231 2/2/2001
Hewlett, James W. 97-11419 2/27/1997
Hickman, James R.

Higgins, Loy W. 2001-06232 2/2/2001
Hilgert, Leon J. ADMIN

Hillman, Willie L.

Hines-Clo, David Y. —96-37292 7/25/1996
Hiseley, William L. CJ-99-8084-61 11/10/1999
Hodgson, James G. 97-28575 5/29/1997
Hoffschneider, Arthur |96-48788 9/23/1996
Hoit, Warren 3-00-CV-10235 12/14/2000
Holcombe, David W. 94-C-2110-3 8/22/1994
Hollingsworth, Henry |97-56161 11/13/1997
Hopper, A. Q. 96-41736 8/20/1996
Houston, Leroy 96-35299 7/19/1996
Hunnicut, Billy '96-39170 8/6/1996
Hutcheson, Norval 0. 96-31889 6/24/1996

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Hutchins, Rastus T.

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5/7/1998

98-21727
Imai, Luis H.
Inman, Charles H. 98-43458 9/10/1998
Irwin, Gwendolyn J. —96-35299 7/19/1996
Isham, Walter C. 96-35299 7/19/1996
Jackson, Clarence W. /002-01120 4/28/2000
Jackson, Frank S. 96-41404 8/19/1996
Jackson, Frank W. 2000-42066 8/18/2000
Jackson, James D. 982-10054 12/24/1998
James, Thomas 95-CV-0916 8/25/1995
Jensen, Carl T. 2000-55384 10/30/2000
Jensen, Duane M. 96-48788 9/23/1996
Johnson, Ira 98-29414 6/23/1998
Johnson, Robert D. 2000-14682 3/23/2000
Johnson, Willie Herbert}/95-CV-0916 8/25/1995
Jones, Carl R. 94-C-2110-3 8/22/1994
Jories, Charles D. 96-64631 12/30/1996
Jones, George H.
Jones, Larry L. 94-C-2110-3 8/22/1994
Jones, Raymond 94-C-2110-3 8/22/1994
Jones, Robert E. 94-C-2110-3 8/22/1994
Jones, Sidney 96-64631 12/30/1996
Jones, Willie 94-C-2110-3 8/22/1994
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Keeler, Charlie I. (1999-15266 3/25/1999
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Kent, Jerald D. 94-C-2110-3 8/22/1994
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Kinney, Donald 96-15686 3/26/1996
Kirchner, Stephen J. cause
Kirkpatrick, Lynn C. 96-27533 6/3/1996
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Kitchen, Edgar 972-01558 5/19/1997
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Klause, Bob H.

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Lee, James R. 97-23115 4/30/1997
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Macias, Julio P. 96-14831 3/20/1996
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Sykes, Frank

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Viningre, Donald L. (2000-56062 10/31/2000
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Washington, Jordan 96-37291 7/25/1996
Watts, Herman 95-CV-0916 8/25/1995
Weakley-Clo, James T. '96-37292 7/25/1996
Weaver, Jack A. 2000-46802 9/15/2000
Welch, Addison 95-CV-0916 8/25/1995
Weller, Raymond E. /002-01120 4/28/2000
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Whitt, James C. 95-CV-0916 8/25/1995
Whittle, Paul ‘972-01558 5/19/1997
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Wilcox, Albert L. 1999-13179 3/15/1999
Wilde, Leon J. 2000-23659 5/10/2000
Wilhelmy, George 96-43384 8/28/1996
Wilhite, Foster 96-6463 1 12/30/1996
Williams, Bobby 96-39170 8/6/1996
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Williams, James 94-C-2110-3 8/22/1994
Williams, Lee D. 96-6463 1 12/30/1996
Williams, Phillip E.  94-C-2110-3 8/22/1994
Williams, Ted V. 97-15887 3/25/1997
Wilson, C. M. 2001-00730 1/5/2001
Wingo, Clifford L.
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Wise, Herman Hazle (95-CV-0916 8/25/1995
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Wright, Thomas G. 2000-39679 8/7/2000
Yarbrough, Joe M. 97-21376 4/30/1997
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Young, Fred F. 1999-17907 4/6/1999
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Young, William A.
Youngblood, Ray '96-35297 7/19/1996
Younker, Richard R. 96-37292 7/25/1996
Zengotita Ruiz, Alberto|96-39011 8/5/1996
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WILLIAMS ¥ BAILEY LAW FIRM, L.L.P.

a CONTRACT

BADEN Power of Attorney

ee:

of counsel
NED BARNETT
RICHARD N. COUNTISS
ROBERT C. KUEHM
JIM WATSON

This agreement ("Agreement") is made the day of 2 199 , between
the following parties ("Parties"):
(collectively "Client") and WILLIAMS “ BAILEY LAW FIRM, L.L.P. ("Attorneys"). In
consideration of the mutual promises herein contained, the Parties agree as follows:

I. Purpose of Representation

1.1 Client retains and employs Attorneys to represent Client, to investigate and if
appropriate, file suit for and attempt to recover any damages and compensation to which Client
may be entitled against any party or parties responsible for same, as well as attempt to
compromise and settle all claims of Client, in connection with or arising out of the following:
("Claims").

II. Attorneys’ Fee

2.1 In consideration of Attorneys’ services rendered and to be rendered as set out
above, Client hereby assigns, grants, and conveys to Attorneys the following present undivided
interest in the Claims:

33 4% of any settlement or recovery made for Client;

Dod Client understands that the Client is giving up at this time to the Attorneys the
amount stated above, and that such percentage is of the total recovery or settlement before any
costs, expenses, or disbursements are deducted (and Client understands that all costs, expenses,
and disbursements are paid out of the Client’s portion of the recovery, and not out of the
Attorneys’ portion).

23 If there is any type of settlement whereby the Client is to receive or be paid
future payments, then the settlement will be reduced to present value, and the settlement will
be arranged whereby there will be sufficient cash at the time of the settlement to pay the
Attorney's Fees which will be figured on the present value of the total settlement including the
present value of future payments.

2.4 The interest assigned and conveyed to Attorneys is based upon the total amount
recovered, and the fact that some portion of the amount recovered may be designated as
“attorneys fees" by the court or settling party will not limit the compensation to be paid under
this Agreement.

III. Approval Necessary for Settlement

ool Attorneys will not settle the claims without Client’s approval. However, Client
will not make a settlement or offer of settlement without the approval of Attorneys.

Wit 6"

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oe Attorneys are hereby granted a power of attorney so that they may have full
authority to prepare, sign, and file all legal instruments, pleadings, drafts, authorizations, and
papers as shall be reasonably necessary to conclude this representation including settlement
and/or reducing to possession any and all monies or other things of value due to the Client in
connection with the Claims as fully as the Client could do so in person. Attorneys are also
authorized and empowered to act as Client’s negotiator in any and all settlement negotiations
concerning the subject of this Agreement.

3.0 Client hereby authorizes Attorneys to negotiate a settlement of Client’s claims in
whatever manner, and using whatever negotiation strategy, Attorneys deem appropriate. Client
understands that Attorneys may, if appropriate, negotiate a settlement of Client’s claim and the
claims of other clients similarly situated, on an aggregate basis. However, no such settlement
will be negotiated without providing Client a description of the claims resolved by the
settlement, the total settlement fund, the amount to be received by Client, and the amount to be
received by other clients who are qualified to participate in the settlement.

3.4 Client understands that Attorneys have negotiated settlements of
asbestos /silicosis claims (like those alleged by Client) with certain companies based upon the
following criteria:

* the diagnosed condition at the time of submission of claim;

* the number of products the manufacturer may have had in the work place (time
frames may have an impact on this);

* the financial condition of the company or its insurance carrier at the time the
claim is made; and

* exposure to or use of products.

Accordingly, in the event your Claim involves one or more of these companies and/or
insurance carriers, we may not be able to settle your Claim with these companies for more than
the pre negotiated amount. If you want more information on the companies affected by these
pre-negotiated settlements, and the amounts thereof, we will be happy to provide you with this
information. By your signature below, you acknowledge your understanding and acceptance of
these pre-negotiated settlements.

IV. No Guarantee of Results

4.1 It is understood and agreed that Attorneys cannot warrant or guarantee the
outcome of the case, and Attorneys have not represented to the Client that the Client will
recover any damages, compensation or other funds so desired. The Client has also been
informed that obtaining a judgment does not guarantee that the opposing parties will be
capable or willing to satisfy the judgment.

V. Court Costs and Expenses

a1 Attorneys may advance any or all of the court costs and expenses that appear to
the Attorneys to be reasonably necessary for the investigation, preparation, trial, and/or
settlement of this matter. All such costs and expenses advanced or incurred by the Attorneys
shall be deducted from the recovery obtained for the Client from the Client’s portion of
recovery. The Attorneys’ contingent fee shall be computed on the total recovery without
deduction for costs, expenses, or disbursements.

52 The terms "court costs" and "expenses" include without limitation: filing fees,
court costs, expert fees (regarding, without limitation, evaluation, reports, and/or testimony),
consultant fees, postage, long distance telephone calls, fax transmissions or receptions,
messengers, court reporter fees, record service fees, photocopying, preparation of exhibits and
photographs, transportation and/or lodging expenses and parking, service of citation,

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investigative fees and expenses, court-mandated expenditures, specialized outside counsel fees
and expenses (i.e., probate, taxation, bankruptcy), special staff, costs associated with collecting
judgments, any expenses of a structured settlement, witness’ fees and mileage, medical records,
subpoenas, and all other reasonable and necessary costs and expenses which the Attorneys in
their professional judgment, determine to be reasonably needed to the prosecution and/or
settlement of the Claims of the Client.

5.3 If Attorneys have represented the Client throughout the course of the litigation
and do not obtain for Client a settlement or recovery, then the Client will not owe Attorneys a
fee or have to pay back any of the above expenses that have been advanced by Attorneys.

VI. Cooperation of Client

6.1 Client agrees to cooperate with Attorneys at all times. Client further agrees to
keep Attorneys advised of Client’s whereabouts (and provide changes of address and
telephone numbers), shall appear on reasonable notice, shall appear for all depositions and
court appearances upon reasonable notice, and shall comply with all reasonable requests of
Attorneys in connection with the preparation and presentation of the aforesaid Claims and
causes of action of the Client.

6.2 Attorneys may, at their option, withdraw from the case and cease to represent
Client should Client fail to comply with any portion of this Agreement or should Attorneys
decide that they cannot continue to be involved in the Claim.

VII. Association of or Assignment to Other Attorneys
7.1 Attorneys may associate any other attorney in the representation of the claims.
Further, Attorneys may assign this matter and this Agreement to other attorneys of their choice.

7.2  Co-Counsel Relationship. Client understands that the attorneys of
WILLIAMS * BAILEY LAW FIRM, L.L.P. may be sharing attorneys’ fees and expenses with
other lawyers or law firms and Client consents to any such fee and expense sharing agreement.
Client further understands that any such fee and expense sharing agreement reached between
the attorneys of WILLIAMS ¥ BAILEY LAW FIRM, L.L.P. , and any other lawyers or law
firms will NOT change in any manner the contractual obligation as detailed herein in
paragraphs 2.1 2.4 that Client has agreed to pay in the prosecution, handling and collection of
this matter.

VIII. Texas Law to Apply

8.1 This Agreement shall be construed under and in accordance with the laws of the
State of Texas, and all obligations of the parties created hereunder are performable in Harris
County, Texas.

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IX. Parties Bound

a1 This Agreement shall be binding upon and inure to the benefit of the Parties
hereto and their respective heirs, executors, administrators, legal representatives, successors
and assigns where permitted by this Agreement.

X. Legal Construction

10.1. In case any one or more of the provisions contained in this Agreement shall for
any reason be held to be invalid, illegal, or unenforceable in any respect, such invalidity,
illegality, or unenforceability shall not affect any other provision thereof and this Agreement
shall be construed as if such invalid, illegal, or unenforceable provision had never been
contained herein.
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XI. Arbitration

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11.1 Any and all disputes, controversies, claims, causes of action or demands arising
out of or relating to this Agreement or any of its provisions, the providing of services by
Attorneys to Client, or in any way relating to the relationship or formation of relationship
between Attorneys and Client, whether in contract, tort, or otherwise, at law or in equity,
including but not limited to any claim or cause of action for legal malpractice, breach of
fiduciary duty, fee dispute, or breach of contract, for damages or any other relief, shall be
resolved by binding arbitration pursuant to Section 154.027 of the Texas Civil Practices &
Remedies Code. The arbitration shall be conducted by a panel of three qualified arbitrators, as
defined by Section 154.052 of the Texas Civil Practices and Remedies Code, consisting of one
arbitrator appointed by Client, one arbitrator appointed by Attorneys, and the third arbitrator
chosen by the two arbitrators selected by the Parties. Any such arbitration shall be conducted in
Harris County, Texas. The arbitrators may resolve only questions specifically and expressly
stated in the demand for arbitration and no others, but their decision shall be final and binding
upon the parties as to the question or questions so submitted. There shall be no right of appeal
or review from the decision of the arbitrators unless there is a showing that the decision was
procured by corruption, fraud or undue means. The cost of arbitration shall be borne by the

losing party.
XII. Prior Agreements Superseded

12.1 This Agreement constitutes the sole and only agreement of the parties hereto
and supersedes any prior understandings or written or oral agreements between the parties
with respect to its subject matter.

12.2 Client certifies and acknowledges that Client has had the Opportunity to read
this Agreement, has been provided a copy of this Agreement, and has knowingly and
voluntarily entered into this Agreement fully aware of its terms and conditions. Client further
certifies and acknowledges that the decision to pursue these claims and to employ these
particular Attorneys are solely Client’s independent decisions after carefully considering the
matters.

XII. No Assignment of Interest in Claim to Others

12.1 Client certifies and represents to Attorneys that they have revoked all prior
agreements with other attorneys, if any, and that they have not assigned, sold or transferred
any interest in the Claims except to the extent said Claims are assigned to Attorneys as
specified in paragraph 2.1 - 2.4 herein.

EXECUTED on the day and year noted above.

CLIENT SIGNATURES: ATTORNEY SIGNATURE:
Printed Name: WILLIAMS * BAILEY LAW FIRM, L.L.P.
S.S.N.: 8441 Gulf Freeway, Suite 600

Houston, Texas 77017
/ (713) 230-2200
S.S.N.: (713) 643-6226 Fax

Address:

Printed Name:

Tel:

Form/WB:ASBT/120197
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EXHIBIT “C”
SERVICE LIST

W. R. GRACE & CO.-- CONN.

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